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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                   )   MDL 2804
 OPIATE LITIGATION                              )
                                                )   Case No. 1:17-md-2804
 THIS DOCUMENT RELATES TO:                      )
                                                )   Judge Dan Aaron Polster
 Tier 2/3 Defendant Cases                       )
                                                )   ORDER


       On March 13, 2025, the Court met with the PEC, a group of manufacturer defendants

(“Group of Six”), and representatives of several state Attorneys General. In light of that meeting

and subsequent reports received from the parties and the mediator, the Court now ORDERS as

follows.

   1. For each of the Group of Six manufacturing defendants that has reached full agreement on

       all provisions in the applicable MSA and associated exhibit regarding injunctive relief, a

       representative of that defendant, the PEC, and the Attorneys General shall jointly confirm

       this fact to the Court as soon as possible and at the latest by noon on April 4, 2025.

       Confirmation should be sent to Special Master Cohen.

   2. If any Group of Six defendant cannot so confirm, that defendant, the PEC, and

       representatives of the Attorneys General shall appear in-person before the Court on April

       7, 2025 at 1:00 PM.

   3. Defendant Mylan, the PEC, and representatives of the Attorneys General are further

       ordered to confirm by noon on March 28, 2025, that they have reached substantial

       agreement regarding all provisions in the applicable MSA and associated exhibit regarding

       injunctive relief. Confirmation should be sent to Special Master Cohen. If they cannot so

       confirm, Mylan and the PEC shall initiate the bellwether trial process by each submitting
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    to the Court by noon on April 7, 2025 two potential bellwether cases. Each side shall strike

    one of the other side’s picks by April 16, 2025, and the Court will thereafter enter Case

    Management Orders.

           IT IS SO ORDERED.


                                              /s/ Dan Aaron Polster March 14, 2025
                                              DAN AARON POLSTER
                                              UNITED STATES DISTRICT JUDGE




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